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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                                      Hon. Dennis M, Cavanaugh

               v.                                     :       10Cr. 851 (DMC)

STEPHEN DEPIRO, et a!.                                        ORDER


       This matter having been found by the Court to be a complex case pursuant to Title 18,

United States Code, Section 31 61(h)(7)(B)(ii); and the Court having found that an order granting a

further continuance of the proceedings in the above-captioned matter should be entered, and for

good and sufficient cause shown;

       IT IS THE FfND1NG OF THIS COURT that the action should be continued for the

following reasons:

        1.     The government has filed a seconc superseding indictment in this matter, expanding

the allegations of racketeering that occurred over several decades and containing new charges.

       2.      The defendants and their counsel need time to review the discovery in this matter

and to investigate the charges.

       3.      The parties’ agreed motion schedule, Docket No. 169, provided for the filing of

motion responses in August 2012. In addition, the Court’s Amended Order for Discovery and

Inspection, filed January 27, 2012, establishes a September 24, 2012 motions hearing date and an

October 30, 2012 trial date.

       4.      In light of these findings, and given the nature of the case and its complexity, it is

unreasonable to expect adequate preparation for pretrial proceedings or the trial itself within the

time limits established under the Speedy Trial Act.

       5.      The grant of a further continuance will enable counsel for the defendants to
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adequately review the discovery, prepare motions and proceed with trial.

        6.        Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends ofjustice

served by granting the continuance outweigh the best interests of the public and the defendants in

a speedy trial,

        WHEREFORE, it is on this 6’day of                         ,   2012;

        ORDERED that the proceedings in this matter are continued from April 3, 2012 until

October 30, 2012; and

        IT IS FURTHER ORDERED that the period from April 3, 2012 until October 30, 2012,

shall be excludable in computing time under the Speedy Trial Act of 1974.




                                                        ON. DENNIS M. CA NAUGH
                                                       United States District Judge




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